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               The Honorable William G. Young
               U.S. District Judge

From:          Erin Hennemann
               U.S. Probation Officer

               ALI, Raza, Dkt. #1:16CR10006-001
               Fine/Restitution Order/Pavment Schedule Pollg

Date:          September 10, 2018


This memorandum serves as notification of a fine/restitution payment schedule agreed upon by
the Probation Office in accordance with the Administrative Office Monograph 114.
It is the responsibility of the Supervising Probation Officer to notify the Court of an agreed-upon
payment schedule, thus making a reasonable payment schedule set by the Court. The schedule
is based upon the defendant's ability to pay at the time it is formulated. Periodic reviews of the
probationer/supervised releasee's financial situation will be made in order to determine whether
the schedule shall be changed.   In the event any changes are made, the Court will be so advised.

At the present time, the agreement is as follows:

        The above supervised releasee has agreed to pay his court-ordered restitution of
        $28.027.946.02. fine of $ 30.000. and special assessment of $200.00 in monthly
        installments of $300.00 per month.

If Your Honor concurs with this payment schedule, please advise by signing below.

Reviewed & Approved by:

/s/ Basil Cronin
Basil Cronin, Supervising
U.S. Probation Officer



Payment Schedule Is Approved:


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The Honorable W1
U.S. District Juds^
